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     IT IS ORDERED as set forth below:



     Date: November 1, 2018
                                                           _________________________________

                                                                    Jeffery W. Cavender
                                                               U.S. Bankruptcy Court Judge

    ________________________________________________________________


                        IN THE UNITED STATES BANKRUPTCY COURT
                             NORTHERN DISTRICT OF GEORGIA
                                    ATLANTA DIVISION

    IN RE:                                             )       Case No. 18-66766
                                                       )
    BEAUTIFUL BROWS LLC,                               )       Chapter 11
                                                       )
              Debtor.                                  )


       INTERIM ORDER ON DEBTOR'S EMERGENCY MOTION FOR AN ORDER
                AUTHORIZING THE USE OF CASH COLLATERAL

         Before the Court is the Debtor’s Emergency Motion For An Order Authorizing The Use

Of Cash Collateral (the "Motion")[Doc. 16] and Ameris Bank’s Objection To Debtor’s Use Of

Cash Collateral (the “Objection”) [Doc. 13]. A hearing on the Motion and the Objection was

held by the Court on October 25, 2018 (the "Hearing"). Having reviewed and considered the

record, and taking into consideration the argument of counsel and the testimony of the

representative of the Debtor at the Hearing, the Court HEREBY FINDS AS FOLLOWS:

         A. On October 3, 2018 (the "Petition Date"), the Debtor filed its voluntary petition for

relief under Chapter 11 of the United States Bankruptcy Code, 11 U.S.C. §§ 101, et seq. (the

"Bankruptcy Code"). The Debtor continues in possession of its property and is operating its

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business as a debtor-in-possession pursuant to sections 1107(a) and 1108 of the Bankruptcy

Code.

        B. The Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334.

This is a core proceeding pursuant to 28 U.S.C. § 157(b).

        C. The Debtor is engaged in providing retail services such as eyebrow threading and

other cosmetic services.

        D. Ameris Bank (the "Lender"), extended a loan to the Debtor in the original amount of

$679,000 with a note dated August 8, 2016 (the "Loan") secured by certain UCC financing

statements recorded on or about August 10, 2016 (together with all other documents that

evidence, secure or relate to the Loan, the "Loan Documents"). Lender obtained a judgment on

the obligation dated September 11, 2018 which at the time of the Petition Date was owed in the

total amount of $701,368.73. Lender contends that based on the Loan Documents, that the Loan

is secured by a security interest in, and lien upon, substantially all of the Debtor’s property and

assets, including but not necessarily limited to, the Debtors' accounts receivable, inventory,

equipment, and general intangible (collectively, the "Property").

        E. For purposes of this Order, the income and other revenues derived from the Property

constitutes cash collateral within the meaning of Sections 363(a) and 363(c)(2) of the

Bankruptcy Code, and such monies are referred to hereinafter as the "Cash Collateral."

        F. The Debtor requires the use of Cash Collateral to preserve, maintain and support the

Property and to continue its business operations, including making payroll, paying rent, paying

for insurance, paying suppliers, and meeting ordinary working capital expenses. Serious and

potentially irreparable harm to the Debtor and the Debtor’s estate may occur absent the Debtor’s

use of the Cash Collateral.



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       G. Debtor’s counsel has certified that a copy of the Motion, together with notice of the

Hearing, has been served upon the United States Trustee, counsel for Lender, and all creditors

and parties in interest in this case. Lender’s counsel has certified that a copy of the Objection,

together with notice of the Hearing, has been served upon the United States Trustee, counsel for

Debtor, and all creditors and parties in interest in this case. The Court finds that notice of the

Motion, the Objection and the Hearing is sufficient under the circumstances.

       H. Good cause has been shown for the entry of this Order and for the Debtor's interim use

of Cash Collateral. For reasons stated on the record and contained in this Order, the Court finds

that Lender is adequately protected by the Debtor's interim use of cash collateral pursuant to the

adequate protection provided by the terms of this Order.

       NOW, THEREFORE, IT IS HEREBY ORDERED, ADJUDGED, and DECREED as

follows.

       1. The Motion is GRANTED according to the terms and provisions of this Order.

       2. Establishment of Cash Collateral Accounts. The Debtor shall provide for the

establishment of one or more debtor-in-possession operating accounts wherein the Debtor shall

deposit all Cash Collateral and not commingle with any funds that do not constitute Cash

Collateral. All funds generated by Debtor’s business and the Property constitute Cash Collateral

except those funds pledged to American Express.

       3. Authority To Use Cash Collateral. Pending the entry of a final order, the Debtor is

authorized to use Cash Collateral through and including November 28, 2018 or a default event

set forth below, whichever is earlier, to pay the actual and necessary expenses incurred in the

ordinary course of its business operations or the maintenance of the Property, but only up to the

amounts and to the extent said expenses are listed on the budget attached hereto as Exhibit 1 (the



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"Budget") or as the Court may specifically authorize pursuant to a separate Order entered by the

Court.

         (a) Budget Amounts. Absent the written consent of Lender or further order of this Court,

         the Debtor’s use of Cash Collateral shall not exceed the aggregate monthly Budget

         amount for any given month. Such Budget amounts shall be cumulative over time such

         that if the Debtor does not spend the entire budgeted amount for a particular line item in

         any one month, the unused amount may be disbursed in a subsequent month for the same

         line item, but not for more than the total monthly Budget amount in any month without

         permission as set forth herein.

         (b) Prohibited Uses. Except as allowed by a separate order of this Court, the Debtor shall

         not use Cash Collateral or any other property of the Debtor’s estate to pay (i) pre-petition

         debts, (ii) obligations of the Debtor that are not an ordinary business expense and that are

         not listed on the Budget, (iii) insiders, with the exception of weekly salary owed to

         Saleem Delawalla in the amount of $1,250.00, Seleema Delawalla in the amount of

         $1,250.00 and Sameera Kahtri in the amount of $750.00, (iv) any entities, partnerships or

         other with which insiders have an affiliation or interest, (v) profit sharing agreements or

         partners, (vi) any personal expenses of officers, insiders, employees or other, or (vii) any

         attorneys, accountants, consultants or other professionals that have not been approved by

         motion to and order of this Court.

         (c) Excess Income. All excess monies in the Debtor’s possession not disbursed pursuant

         to the Budget shall be maintained by the Debtor in its debtor-in-possession operating

         account(s) and shall only be disbursed in accordance with any subsequent orders of this

         Court.



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       4. Adequate Protection. For the purpose of providing adequate protection required under

the Bankruptcy Code to Lender for its interests in the Property and the Debtor's use of Cash

Collateral, the Debtor shall provide or undertake the following:

       (a) Replacement Liens. As a condition of Debtor’s use of Cash Collateral, Lender is

       hereby granted a continuing additional first-priority security interest and lien (the

       "Replacement Liens") in and upon all of the now existing or after-acquired assets of

       Debtor (but excluding claims, causes of action and avoidance actions arising under the

       Bankruptcy Code, including but not limited to Sections 506(c), 544, 547, 548, 549 and

       553 of the Bankruptcy Code) that are of the same type or nature of Property and Cash

       Collateral in which Lender holds a valid, perfected and non-avoidable security interest

       prior to the Petition Date. Such Replacement Liens shall have the same priority as the

       pre-petition liens of the Lender. No financing statement or other filing is required to

       perfect or continue the security interest acquired herein.

       (b) Cash Payments. The Debtor shall make monthly payments to Lender in the amount of

       $4,900.00 per month commencing November 1, 2018.

       (c) Accounting. Debtor shall provide to Lender’s counsel, no later than November 5,

       2018, a full accounting of all funds that have been deposited and spent by Debtor since

       the Petition Date including providing a copy of the pre-petition business bank account

       statement(s) that Debtor testified is still active, copies of Debtor’s DIP bank account

       statements since inception of the accounts, and copies of all invoices, statements or other

       documentation that support the expenditures.




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       (d) Financial Information. The Debtor shall provide monthly to Lender’s counsel and the

       United States Trustee's office a copy of the Debtor's monthly operating report required to

       be filed pursuant to the Bankruptcy Code and the Federal Rules of Bankruptcy procedure.

       5. Reservation of Rights. Nothing in this Order shall be construed as a waiver by the

Debtor or Lender of any rights, claims, defenses, or objections they may have (a) respecting the

nature, amount, validity, priority or perfection of any pre-petition liens or security interests

asserted against the Debtors or the Debtor’s property, (b) respecting requests for relief from the

automatic stay under 11 U.S.C. § 362(d), or (c) respecting demands for further adequate

protection in addition to those provided by this Order.

       6. Default. Each of the following shall be a violation of this Order: (a) failure of Debtor

to pay the adequate protection payments described herein; (b) failure of Debtor to abide by non-

payment terms, covenants or conditions of the Order or the Budget filed herewith; (c) failure of

Debtor to timely pay the fees owed to the U.S. Trustee; (d) the appointment of a Chapter 11

Trustee; or (e) the conversion of this case to Chapter 7.

       7. Remedies Upon Default. Upon the occurrence of an event of default, Lender may file

an affidavit of default specifying the event. If Debtor disputes that an event of default has

occurred, Debtor may file a contravening affidavit within five (5) calendar days of the date of the

filing of Lender’s affidavit. If no contravening affidavit is filed, then Debtor shall immediately

cease using Cash Collateral, and the Court may enter an order prohibiting further use of Cash

Collateral (Debtor is prohibited without the necessity of a Court order). If a contravening

affidavit is filed, the Court shall set an expedited hearing.

       8. Final Hearing. A final hearing on this Motion shall be held on November 28, 2018, at

2 p.m., in Courtroom 1203, United States Courthouse, 75 Ted Turner Drive, Atlanta,



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Georgia 30303. All objections to this Order or the entry of a Final Order shall be heard at the

final hearing. Debtor shall serve a copy of this Order within three (3) days of entry on the

Lender, the U.S. Trustee, the twenty largest unsecured creditors, and any creditor who has filed a

request for notice.

          9. Effective Date. Notwithstanding Bankruptcy Rule 4001(a)(1), this Order is not stayed

and shall be effective upon the date of entry on the docket.

                                       END OF DOCUMENT

                                           -Exhibit 1 attached-

    Prepared and presented by                         Reviewed and approved by:

    JASON L. PETTIE, P.C.
                                                      ___/s/__________________________*
    /s/                                               Lynn L. Carroll
    Jason L. Pettie, Attorney for Debtor              Georgia Bar No. 460365
    Georgia Bar No. 574783                            Golder Law, LLC
    P.O. Box 17936                                    101 Village Parkway
    Atlanta, Georgia 30316                            Building 1, Suite 400
    Phone: 404-638-5984                               Marietta, Georgia 30067
                                                      404/252-3000
                                                      lcarroll@golderlawfirm.com
                                                      Attorney for Ameris Bank
                                                      *(signed by Jason L. Pettie with express
                                                      permission given 10/31/18)

                                                      No Opposition:


                                                        /s/                                *
                                                      Thomas W. Dworschak, Trial Attorney
                                                      Georgia Bar No. 236380
                                                      Office of the United States Trustee
                                                      Rm 362, Russell Federal Building
                                                      75 Ted Turner Dr SW
                                                      Atlanta, Georgia 30303
                                                      404-331-4437
                                                      Thomas.w.dworschak@usdoj.gov
                                                      *(signed by Jason L. Pettie with express
                                                      permission given 10/31/18)

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                                                             Exhibit 1
                                                         Proposed Budget
            Rents
     Rent for Mall of GA          $7,205.28
Rent for Town Center @Cobb       $10,954.69
 Rent for Arbor Place‐inline      $7,394.25
  Rent for Arbor Place‐cart       $3,125.00
   Rent for Home Office           $1,238.78
                                 $29,918.00
          Utilities
      Mall of GA‐AT&T             $109.23
     Town Center‐AT&T             $177.25
 Town Center‐Store Cleaning       $217.00
      Arbor Place‐Trash            $34.13
      Arbor Place‐AT&T            $102.66
  Home Office Security‐ADT         $44.58
     Home Office‐Trash             $47.58
  Home Office‐Constellation        $97.67
   Home Office‐GA Power           $285.17
   Home Office‐Broadview          $142.35
    Home Office‐Comcast           $177.00
  Home Office‐Pest Control         $26.32
                                 $1,460.94

Supplies & Materials (average)   $4,240.00

Professional & Misc. Services
         MarketPros                $25.00
    Appointment Pro App            $10.59
         Clover Lease             $299.97
         Hartford‐WC              $607.59
        Krishnan & Co              $95.33
      Candela/Syneron             $667.00
    IPFS Corporation‐GLL          $576.67
        Google Drive               $2.00
   Repairs & Maintenance          $200.00
     American Fire PBFS            $42.00
      Minuteman Press             $250.00
  Fuel & Delivery Expenses        $300.00
                                 $3,076.15
       Credit Card Fees
          Mall of GA              $961.64
     Town Center @Cobb            $714.61
       Arbor Place Mall           $858.98
                                 $2,535.23

           Payroll
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    Average Monthly Payroll      $32,880.00

 Proposed Adequate Protection 
           Payment                $4,900.00

 Projected Monthly Amount for 
      Ch 11 Quarterly Fee         $650.00

 TOTAL PROJECTED MONTHLY 
         EXPENSES                $79,660.32

 Projected Cash Flow Based on:
2018 MONTHLY SALES: BEAUTIFUL BROWS LLC
            Month                 MOG              TC             AP         Total
              Jan               $25,895.00     $25,289.00     $22,968.00     $74,152.00
              Feb               $27,926.00     $26,980.00     $26,274.00     $81,180.00
              Mar               $35,967.00     $32,915.00     $33,833.00    $102,715.00
              Apr               $30,693.00     $31,816.00     $26,953.00     $89,462.00
             May                $35,294.00     $32,365.00     $30,573.00     $98,232.00
              Jun               $31,044.00     $29,140.00     $29,276.00     $89,460.00
              Jul               $31,340.00     $28,921.00     $28,104.00     $88,365.00
              Aug               $31,644.00     $27,881.00     $29,149.00     $88,674.00
              Sep               $29,639.00     $23,306.00     $26,282.00     $79,227.00
           YTD Sales           $279,442.00     $258,613.00   $253,412.00    $791,467.00
     Average Monthly Sales      $31,049.11     $28,734.78     $28,156.89   $87,940.78

MOG = Mall of Georgia
TC = Town Center at Cobb
AP = Arbor Place
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                                      DISTRIBUTION LIST

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P.O. Box 17936

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Atlanta, Georgia 30303




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